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          NOTICE TO COUNSEL OF RECORD AND PARTIES

 TO:               Counsel of Record

 FROM:            A. Edwards                      , Deputy Clerk

 DATE:            8/27/2024
                   1:22-cv-04601-SEG
 CASE NO.:

 SUBJECT:         RECLAMATION AND DISPOSITION OF AUDIO/VIDEO EXHIBITS



Pursuant to Local Rule 79.1(D), you are hereby notified that the audio/visual exhibits
[   101     ] from the              Jury Trial             held in the above styled case will be
disposed of if you have not recovered the same within 30 days from the date of this Notice.

Please date and sign this Notice to acknowledge receipt and indicate how the exhibits should be
handled. If you are an electronically registered attorney, please electronically file the signed
Notice using the Exhibit Disposition Notification event in CM/ECF. The event is located under
the Other Documents heading. If you are not an electronically registered attorney, please file
this form with the clerk's office in paper.

(To minimize your wait time when picking up exhibits, please allow for a minimum of 24 hours from the
time you file the Notice to the time you come to the clerk's office to retrieve the exhibits.)




Receipt of this Notice is hereby acknowledged.
                                                                                   (Signature)



    Exhibits will be picked up no later than
                                                                     (Date)



    Exhibits may be destroyed.
                                                (Initials)




Note: If someone other than the attorney of record will be picking up exhibits, a letter of authorization
from the attorney of record is required.

Exhibits Received by:
                                                              (Signature)



This               day of                                       , 2024.
